Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 1 of 11 Page ID #:376



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  7   ENTERTAINMENT COMPANY
  8                           UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
      DWIGHT YOAKAM, an individual,           Case No. 2:21-cv-1165-SVW (MAA)
 11
                 Plaintiff,                   MEMORANDUM OF POINTS AND
 12                                           AUTHORITIES IN SUPPORT OF
            v.                                DEFENDANTS’ MOTION FOR
 13                                           PARTIAL SUMMARY JUDGMENT
      WARNER RECORDS INC., a Delaware
 14   corporation; and RHINO                  Date: February 14, 2022
      ENTERTAINMENT COMPANY, a                Time: 1:30 p.m.
 15   Delaware corporation,                   Place: Courtroom 10A
 16              Defendants.
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             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 2 of 11 Page ID #:377



  1                                              TABLE OF CONTENTS
                                                                                                                           Page
  2
  3   INTRODUCTION .......................................................................................................... 1
  4   BACKGROUND ............................................................................................................ 2
  5            A.       The 1985 Agreement Between Plaintiff and Warner................................. 2
  6            B.       Plaintiff’s Purported Termination Notices. ................................................ 2
  7            C.       Defendants’ Actions in Response to the Termination Notices. ................. 3
  8            D.       The Alleged Infringements. ....................................................................... 3
  9   LEGAL STANDARD..................................................................................................... 4
 10   ARGUMENT .................................................................................................................. 5
 11   CONCLUSION ............................................................................................................... 8
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                  -i-
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                           MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 3 of 11 Page ID #:378



  1                                            TABLE OF AUTHORITIES
  2
                                                                                                                            Page(s)
  3
      Cases
  4
      A&M Recs., Inc. v. Napster, Inc.,
  5
        239 F.3d 1004 (9th Cir. 2001) .......................................................................... 5, 6
  6
      Anderson v. Liberty Lobby, Inc.,
  7     477 U.S. 242 (1986).............................................................................................. 5
  8
      Celotex Corp. v. Catrett,
  9      477 U.S. 317 (1986).............................................................................................. 4
 10   Mana Wai’, Inc. v. Amato Beverly Hills, LLC,
 11     No. SACV 20-1091 JVS (DFMx), 2020 WL 7247335, (C.D. Cal. Oct.
        26, 2020) ............................................................................................................... 5
 12
      Perfect 10, Inc. v. Giganews, Inc.,
 13
         847 F.3d 657 (9th Cir. 2017) ........................................................................ 1, 5, 8
 14
      VHT, Inc. v. Zillow Grp., Inc.,
 15     918 F.3d 723 (9th Cir. 2019) ............................................................................ 7, 8
 16
      Statutes
 17
      17 U.S.C. § 106 ...................................................................................................... 5, 6
 18
 19   17 U.S.C. § 203 ................................................................................................. passim

 20   Other Authorities
 21   Fed. R. Civ. P. 56(a) .................................................................................................. 4
 22
 23
 24
 25
 26
 27
 28
                                                                  -ii-
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                           MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 4 of 11 Page ID #:379



  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2         Defendants Warner Records Inc. (“Warner”) and Rhino Entertainment
  3   Company (“Rhino,” and together with Warner, “Defendants”) submit this
  4   memorandum of points and authorities in support of their motion for partial summary
  5   judgment (the “Motion”) as to plaintiff Dwight Yoakam’s (“Plaintiff”) copyright
  6   infringement claim.
  7                                       INTRODUCTION
  8         In this action, Plaintiff alleges that he terminated Warner’s ownership of the
  9   copyright in various sound recordings pursuant to 17 U.S.C. § 203, but that
 10   Defendants nonetheless “continue to exploit” those sound recordings. Corrected
 11   Second Am. Compl. (“CSAC”) [Dkt. No. 25] ¶¶ 101, 111, 112. Based on these
 12   allegations, Plaintiff asserts a claim for declaratory relief (which is not at issue in this
 13   motion) and a claim for copyright infringement (which is). Specifically, Plaintiff’s
 14   copyright infringement claim is based on the continued presence of certain sound
 15   recordings on digital service provider (“DSP”) platforms after Plaintiff purports to
 16   have terminated Warner’s copyright interest.
 17         To support its claim, however, Plaintiff must show that Defendants are the
 18   direct (or “proximate”) cause of the alleged infringement. Perfect 10, Inc. v.
 19   Giganews, Inc., 847 F.3d 657, 666-67 (9th Cir. 2017). No such evidence exists here.
 20   On the contrary, the undisputed evidence establishes that the sound recordings that
 21   remained available on the DSP platforms were available not because of Defendants’
 22   actions, but despite Defendants’ actions—namely, despite Defendants’ notification to
 23   all DSPs that the DSPs were no longer authorized by Defendants to exploit the works
 24   at issue in the United States following those works’ putative effective dates of
 25   termination. Because Plaintiff cannot establish that Defendants are the proximate
 26   cause of the DSPs’ continued exploitation of these works, his copyright infringement
 27   claim fails as a matter of law. The Court should therefore grant summary judgment in
 28   favor of Defendants on that claim.
                                                   -1-
              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                        MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 5 of 11 Page ID #:380



  1                                      BACKGROUND
  2         A.     The 1985 Agreement Between Plaintiff and Warner.
  3         Plaintiff and Warner first entered into an agreement for Plaintiff’s exclusive
  4   services as a recording artist in 1985 (the “1985 Agreement”). Defendants’ Statement
  5   of Uncontroverted Facts and Conclusions of Law (“DSUF”) No. 1. Under the 1985
  6   Agreement, Warner released sound recordings featuring Plaintiff entitled “Honky
  7   Tonk Man” and “Miner’s Prayer” as singles (collectively, the “Singles”) through its
  8   label Reprise Records in early 1986. DSUF No. 2. Shortly thereafter, in March 1986,
  9   Warner released a full-length album entitled “Guitars, Cadillacs, Etc. Etc.” (the “First
 10   Album”), which included the Singles and eight other sound recordings featuring
 11   Plaintiff. DSUF No. 3. Plaintiff was also featured in a music video for the single
 12   “Honky Tonk Man,” which was likewise released in 1986. DSUF No. 4. The 1985
 13   Agreement provides that Warner is the owner of the copyright in all of these works.
 14   DSUF No. 5. Since 1986, Warner and its affiliate Rhino have distributed and
 15   otherwise exploited these works, including by granting licenses to various DSPs to
 16   stream or permit digital downloads of the works. DSUF No. 6.
 17         B.     Plaintiff’s Purported Termination Notices.
 18         By letter dated February 5, 2019, Plaintiff’s counsel transmitted to Warner
 19   putative “Notices of Termination” pursuant to 17 U.S.C. § 203 (the “Termination
 20   Notices”), pursuant to which Plaintiff purported to terminate Warner’s United States
 21   copyright interest in various works, including the above-referenced sound recordings
 22   and music video. DSUF No. 7. The Termination Notices identified the putative
 23   “Effective Date of Termination” as to each work; as relevant to this lawsuit, the
 24   putative effective dates of termination are as follows:
 25         The Singles: January 31, 2021
 26         The First Album: March 3, 2021
 27         The “Honky Tonk Man” music video: March 3, 2021
 28
                                               -2-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 6 of 11 Page ID #:381



  1   DSUF No. 8.1
  2         C.       Defendants’ Actions in Response to the Termination Notices.
  3         Following Warner’s receipt of the Termination Notices, the parties engaged in
  4   periodic communications regarding Plaintiff’s recording agreements and the parties’
  5   relationship. DSUF No. 9. As the putative effective date of termination for the
  6   Singles neared, though it was under no obligation to do so, Defendants elected to
  7   instruct those DSPs that Defendants had previously authorized to exploit the works
  8   that Defendants were no longer authorizing such exploitation in the United States. To
  9   that end, on January 31, 2021, Defendants communicated with each such DSP via
 10   industry-standard XML feed and informed the DSPs that they were no longer
 11   authorized to exploit the Singles in the United States. DSUF No. 10. Among the
 12   DSPs that received the XML feed update from Defendants were Spotify and Napster.
 13   Id.
 14         Plaintiff commenced this action on February 9, 2021. See Dkt. No. 1.
 15   Following the filing of the lawsuit, Defendants elected to instruct the DSPs that
 16   exploitation of the eight other sound recordings on the First Album was no longer
 17   authorized in the United States. Accordingly, prior to the March 3, 2021 putative
 18   effective date associated with the First Album, Defendants instructed each DSP via
 19   industry-standard XML that it was no longer authorized to exploit any of the tracks
 20   embodied on the First Album in the United States. DSUF No. 11. As with the
 21   Singles, among the DSPs that received this XML feed update were Spotify and
 22   Napster. Id.
 23         D.       The Alleged Infringements.
 24         In the CSAC, Plaintiff alleges three specific claimed infringements:
 25          Plaintiff claims that the sound recording for “Honky Tonk Man” remained
 26              available on Spotify “[a]s of February 9, 2021,” notwithstanding
 27   1
       The Court has dismissed Plaintiff’s claims as to works identified in the Termination
      Notices with a putative effective date of termination after 2021. See Dkt. No. 23 at
 28   17-18.
                                                -3-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 7 of 11 Page ID #:382



  1            Defendants’ earlier instruction to Spotify that exploitation of that track in the
  2            United States was no longer authorized by Defendants. CSAC ¶ 106.
  3            However, the identified source of the sound recording on Spotify is not the
  4            Singles, the First Album, or Defendants; instead, Spotify reflects that the
  5            source of the sound recording is a compilation soundtrack for the Ken Burns
  6            documentary Country Music, provided to Spotify by another record label.
  7            DSUF No. 12.
  8          Plaintiff claims that the sound recordings included on the First Album
  9            remained available on Napster “[a]s of March 29, 2021,” notwithstanding
 10            Defendants’ earlier instruction to Napster that exploitation of the First
 11            Album in the United States was no longer authorized by Defendants. CSAC
 12            ¶ 112. Promptly following receipt of Plaintiff’s First Amended Complaint
 13            (“FAC”) in this action (in which this allegation was first raised), Defendants
 14            communicated with Napster and reiterated the instruction to remove the
 15            content, which Napster confirmed it would do. DSUF No. 13.
 16          Finally, Plaintiff claims that the sound recording of “Guitars, Cadillacs” and
 17            the “Honky Tonk Man” music video were present on the “WMG Official
 18            Dwight Yoakam YouTube channel” “[a]s of March 29, 2021.” However, as
 19            Plaintiff knows, Defendants relinquished all control of the “WMG official
 20            Dwight Yoakam YouTube channel” to Plaintiff in 2009. DSUF No. 14. As
 21            a result, the content available on that YouTube channel has been solely the
 22            responsibility of Plaintiff for over a decade. Id.
 23                                   LEGAL STANDARD
 24         Summary judgment must be granted when “there is no genuine dispute as to
 25   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
 26   Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). “[T]he mere
 27   existence of some alleged factual dispute between the parties will not defeat an
 28   otherwise properly supported motion for summary judgment; the requirement is that
                                             -4-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 8 of 11 Page ID #:383



  1   there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S.
  2   242, 247-48 (1986) (emphasis in original).
  3                                          ARGUMENT
  4         To establish that Defendants are liable for infringement, Plaintiff must: (a)
  5   “show ownership of the allegedly infringed material;” and (b) “demonstrate that the
  6   alleged infringers violate at least one exclusive right granted to copyright holders
  7   under 17 U.S.C. § 106.” A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1013 (9th
  8   Cir. 2001); see also Mana Wai’, Inc. v. Amato Beverly Hills, LLC, No. SACV 20-1091
  9   JVS (DFMx), 2020 WL 7247335, at *2 (C.D. Cal. Oct. 26, 2020) (same). To satisfy
 10   the second element, Plaintiff must establish that Defendants’ volitional conduct
 11   proximately caused the purported infringement. Giganews, 847 F.3d at 666-67. In
 12   other words, Plaintiff must show that Defendants were the direct cause of the
 13   violation of an exclusive right belonging to a copyright owner. See id. at 666
 14   (describing volitional conduct element as requiring liability to be “premised on
 15   conduct that can reasonably be described as the direct cause of the infringement”)
 16   (internal quotations and citation omitted).
 17         As an initial matter, Defendants vigorously dispute Plaintiff’s claim of
 18   ownership (i.e., the first element of Plaintiff’s infringement claim), which is premised
 19   on the faulty and untenable allegation that Plaintiff both was entitled to terminate, and
 20   that he did, in fact, validly terminate, Defendants’ United States copyright interest
 21   pursuant to Section 203 of the U.S. Copyright Act. For multiple reasons, including
 22   without limitation those set forth in Defendants’ motion to dismiss, see Dkt. No. 17,
 23   Plaintiff’s ownership claim fails, and Defendants reserve all arguments in that regard
 24   should this matter proceed to trial.
 25         However, this matter should not proceed to trial, because as a matter of law,
 26   Plaintiff cannot satisfy the second element of his claim–i.e., that Defendants directly
 27   caused the alleged infringement. As discussed above, the ostensible basis for
 28   Plaintiff’s infringement claim is the presence of certain works on DSP platforms in the
                                                -5-
              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                        MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 9 of 11 Page ID #:384



  1   United States after the alleged “effective date of termination” associated with such
  2   works.2 In each instance, however, Defendants were not the “direct cause” of the
  3   continued presence of such works on the identified DSP platforms in the United
  4   States, and therefore, Defendants cannot be held liable for any corresponding alleged
  5   infringement.
  6         As to the single “Honky Tonk Man,” which Plaintiff claims was available in the
  7   United States on Spotify as of February 9, 2021, Defendants had previously notified
  8   Spotify that after January 31, 2021, Spotify was no longer authorized to exploit the
  9   copy of that sound recording that Defendants had provided to Spotify in the United
 10   States pursuant to the parties’ license agreement. DSUF No. 10. Spotify appears to
 11   have instead sourced a version of that track from a compilation album (namely, the
 12   soundtrack of the Ken Burns documentary Country Music) provided to Spotify by
 13   another company. DSUF No. 12. Defendants are therefore not the proximate cause of
 14   the continuing availability of that sound recording in the United States on Spotify.
 15   Defendants did not provide the documentary soundtrack to Spotify, and in all events
 16   Defendants do not and cannot directly control the Spotify platform – they can instruct
 17   Spotify that certain sound recordings may no longer be exploited (as they did), but
 18   only Spotify can implement that instruction. DSUF No. 15.
 19         As to “the sound recordings included within the First Album” that Plaintiff
 20   claims were available in the United States on Napster as of March 29, 2021,
 21   Defendants had likewise notified Napster that after March 3, 2021, Napster was no
 22   longer authorized to exploit the copies of those sound recordings that Defendants had
 23   provided to Napster pursuant to the parties’ license agreement in the United States.
 24
      2
        Plaintiff also summarily asserts that Defendants have committed infringement by
 25   “deciding not to distribute” the sound recordings at issue. CSAC ¶ 118 (emphasis
      added). Such a claim fails on its face. As noted above, Plaintiff must allege and
 26   prove that Defendants “violate[d] at least one exclusive right granted to copyright
      holders.” A&M Recs., 239 F.3d at 1013. While a copyright owner has the exclusive
 27   right to distribute copies or phonorecords of a copyrighted work, see 17 U.S.C. §
      106(3), the non-distribution of such copies or phonorecords is, by definition, not an
 28   infringement.
                                                -6-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 10 of 11 Page ID
                                  #:385


1    DSUF No. 11. As with Spotify, Defendants do not directly control the Napster
2    platform. They can merely instruct Napster that it is no longer authorized to exploit
3    previously authorized content (as they did prior to March 3, 2021, and again following
4    the filing of the FAC, when Defendants first learned that that instruction had
5    apparently not been complied with, DSUF No. 11).
6          Finally, despite the designation of Plaintiff’s YouTube channel as the “WMG
7    official Dwight Yoakam YouTube channel,” Defendants have no authority or ability
8    to control the content available on the YouTube channel, having ceded that control to
9    Plaintiff over a decade ago. DSUF No. 14.
10         In sum, Defendants were not the direct cause of any of the acts of infringement
11   alleged by Plaintiff. On the contrary, Defendants timely instructed both Spotify and
12   Napster that they were no longer authorized to exploit the Singles, the First Album
13   and the music video in the United States; the continued exploitation on Spotify and
14   Napster occurred notwithstanding Defendants’ instruction, rather than because of it.
15   And Defendants played no role as to the inclusion of the “Guitars, Cadillacs” sound
16   recording or the “Honky Tonk Man” music video on Plaintiff’s YouTube channel –
17   that placement is solely the responsibility of Plaintiff.
18         Under well-established Ninth Circuit authority, these facts preclude a claim for
19   copyright infringement. In VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723 (9th Cir.
20   2019), for example, the defendant, an online real estate marketplace, continued to
21   display copyrighted photographs uploaded by users after the period authorized in the
22   license agreement between the plaintiff copyright owner and the users. Id. at 732-33.
23   Although the plaintiff asserted that the defendant’s failure to remove the infringing
24   photographs after it received notice from the plaintiff was “a conscious choice that
25   amounts to volitional conduct,” the Ninth Circuit disagreed. Among other things, the
26   court noted that the defendant “took affirmative action to address the claims,”
27   including inquiring as to the basis for the plaintiff’s rights, but that in all events, the
28   plaintiff had failed to demonstrate that the defendant “exercised control” over the
                                               -7-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 2:21-cv-01165-SVW-MAA Document 39-1 Filed 01/24/22 Page 11 of 11 Page ID
                                  #:386


1    infringing content or that it directly engaged in any of the alleged infringement. Id. at
2    734; see also Giganews, 847 F.3d at 666-67.
3          The same is true here. Without conceding the legitimacy of the Termination
4    Notices or Plaintiff’s claim of ownership, Defendants took “affirmative action to
5    address the claims” by withdrawing previously granted authorization for exploitation
6    of those works in the United States; moreover, Defendants do not control the Spotify,
7    Napster, and YouTube platforms, and therefore, did not engage in any volitional
8    conduct with respect to the infringement alleged in the CSAC. Because there is no
9    evidence that Defendants were the proximate cause of any alleged infringement,
10   Plaintiff’s claim necessarily fails.
11                                          CONCLUSION
12         For the foregoing reasons, Defendants request that the Court grant summary
13   judgment as to Plaintiff’s copyright infringement claim.
14
      DATED: January 24, 2022                 SIDLEY AUSTIN LLP
15
16                                            By: /s/ Rollin A. Ransom
                                                Rollin A. Ransom
17
                                              Attorneys for Defendants
18                                            WARNER RECORDS INC. and
                                              RHINO ENTERTAINMENT COMPANY
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                                               -8-
             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
                       MOTION FOR PARTIAL SUMMARY JUDGMENT
